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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:11cr337-RJC

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )         ORDER OF FORFEITURE
                                                  )
(8) NATALIA CHRISTINA WADE,                       )
                                                  )
                       Defendant.                 )

       THIS MATTER is before the Court on the Government’s Motion for Money Judgment and

Preliminary Order of Forfeiture, (Doc. No. 354), to which the defendant has not objected.

       THIS COURT FINDS AS FOLLOWS:

       1.      The Second Superseding Bill of Indictment (Doc. No. 288) in this case charged

Defendant with violations of 21 U.S.C. § 1956 and 18 U.S.C. § 846 and other offenses. The Second

Superseding Bill of Indictment also provided notice that property was subject to forfeiture pursuant

to 18 U.S.C. § 982, and specifically identified proceeds, substitute property, and a $1,050,837

forfeiture money judgment as subject to forfeiture.

       2.      Defendant was convicted at trial by the jury on Counts One and Two in the Second

Superseding Bill of Indictment and was adjudged guilty of the offense charged in those counts.

(Doc. No. 350: Verdict). Based on evidence already in the record, including Defendant’s

conviction, the Government has established the amount of $1,050,837 as the amount of proceeds

and the amount involved in money laundering, for purposes of Counts One and Two.




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       3.      Therefore, under Fed. R. Crim. P. 32.2 and based on the Second Superseding Bill

of Indictment, the Government has established the amount of the money judgment.

       4.      Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall become final as to the

defendant at the time of sentencing and shall be made part of the sentence and included in the

judgment.

       5.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

Order of Forfeiture as to substitute property to satisfy the money judgment in whole or in part.

       IT IS THEREFORE ORDERED that, based upon 18 U.S.C. § 982, this Order shall

constitute a money judgment for the following property:

       A forfeiture money judgment in the amount of at least $1,050,837, such amount
       constituting proceeds of the violations set forth in the Second Superseding Bill of
       Indictment.


                                             Signed: June 13, 2014




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